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 1                                                                   HONORABLE RONALD B. LEIGHTON
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 8                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 9                                              AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                          Case No. CR06-5351 RBL
                                Plaintiff,
12                      v.                                  ORDER
13     LAURO AGUILAR CANCHE,
14                              Defendant.
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17           THIS MATTER comes on before the above-entitled Court upon Defendant’s Motion in Limine Re:

18   Pending Nebraska Charges [Dkt. #186] and Motion to Join Co-Defendants’ Motions [Dkt. #187].

19           Having considered the entirety of the records and file herein, the Court finds and rules as follows:

20           Defendant seeks to exclude evidence regarding his pending federal charges in Nebraska. The

21   government argues that the Nebraska charges are “inextricably intertwined” with the charges he faces in this

22   district or are admissible under Fed. R. Evid. 404(b). The current trial date is June 5, 2007. The Court, if

23   necessary, will hear brief argument on this issue at trial either before a jury is selected or after jury selection

24   but prior to the government’s opening statement. The Clerk shall re-note this motion [Dkt. #186] for June 5,

25   2007.

26           Defendant also seeks to join co-defendants’ motions. Because all the other defendants have entered

27   guilty pleas, except Gallo-Martinez who has never been arrested and is currently a fugitive, there are no

28   pending motions of the co-defendants. As such, this motion [Dkt. #187] is DENIED. If there is a motion that


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 1   was filed by a co-defendant that the Court did not earlier rule on substantively that defendant Laura Aguilar
 2   Canche wishes to adopt as his own, he shall file a new motion specifically joining in that co-defendant’s motion
 3   on or before May 14, 2007.
 4             IT IS SO ORDERED.
 5             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
 6   pro se.
 7             Dated this 9th day of May, 2007.


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                                               RONALD B. LEIGHTON
10                                             UNITED STATES DISTRICT JUDGE
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     ORDER
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